     Case 1:06-cr-00365-LJO-BAM Document 369 Filed 01/23/14 Page 1 of 2


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11

12

13                             UNITED STATES DISTRICT COURT
14
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                       Case Nos.    CR-06-00365-001-LJO;
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                                                                  CR-06-00365-002-LJO
                                 Plaintiff,
18                                                   [Assigned to Hon. Lawrence J. O’Neill,
                      v.                             Courtroom 4]
19
     ABDEL BASET JAWAD, ABDUL
20   MUNIEM MOHAMAD JAWAD,                           ORDER GRANTING
                                                     EXONERATION OF BONDS
21                               Defendants.
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25         For good cause having been shown, in that Defendant Abdel Baset Jawad has duly
26   surrendered on November 18, 2013, to the Bureau of Prisons at Atwater, California, and
27   Abdul Muniem Mohamad Jawad surrendered to the Bureau of Prisons at Sheridan, Oregon,
28   that same day.
                                                 2
                      [PROPOSED] ORDER GRANTING EXONERATION OF BONDS
     Case 1:06-cr-00365-LJO-BAM Document 369 Filed 01/23/14 Page 2 of 2


1          Good cause having been shown, it is hereby Ordered that bonds in the above-entitled
2    case are exonerated:
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4     Madera County Assessor ID            Madera County Recorder Document ID
5     Number, 054-022-007-000.             Number, 2008042731; recorded
6                                          December 18, 2008.
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     IT IS SO ORDERED.
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13      Dated:   January 22, 2014                    /s/ Lawrence J. O’Neill
                                                 UNITED STATES DISTRICT JUDGE
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                    [PROPOSED] ORDER GRANTING EXONERATION OF BONDS
